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     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                            )
     In re:                                                                 )     Chapter 11
                                                                            )
     LE TOTE, INC., et al.,1                                                )     Case No. 20-33332 (KLP)
                                                                            )
                                  Debtors.                                  )     (Jointly Administered)
                                                                            )

                     SUMMARY OF FIRST INTERIM FEE
            APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
       BANKER FOR THE DEBTORS FOR COMPENSATION FOR PROFESSIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
     THE PERIOD FROM OCTOBER 1, 2020 TO AND INCLUDING OCTOBER 31, 2020




 1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
        claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
        250 Vesey Street, 22nd Floor, New York, New York 10281.



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                                                               HMAdviseCo, LLC d/b/a Nfluence
     Name of Applicant:
                                                               Partners (“Nfluence”)

     Authorized to provide professional services               Le Tote, Inc., et al.
     to:                                                       Debtors and Debtors in Possession

                                                               Order entered on October 22, 2020, retention
     Date of retention:
                                                               as of August 2, 2020

     Period for which compensation and
                                                               August 2, 2020, through October 31, 2020
     reimbursement is sought:

     Amount of compensation sought as actual,                  $75,000.00
     reasonable and necessary:

     Amount of compensation requested
                                                               $0.002
     immediately

     Amount of expense reimbursement sought as
                                                               $0.00
     actual, reasonable, and necessary:

     Type of fee statement or application:                     Interim Fee Statement




 2     Pursuant to the Retention Order (as defined herein), the Debtors are authorized to pay the $25,000 Monthly Fee
       to Nfluence each month when requested under the Engagement Letters (as defined herein) without a prior fee
       application


                                                           2
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 FIRST INTERIM FEE APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
                      BANKER FOR THE DEBTORS

                                         PRIOR FEE STATEMENTS

                                  AUGUST 2, 2020 —OCTOBER 31, 22020


                                 Requested                        Paid3                          Outstanding
     Application

                          Fees          Expenses           Fees           Expenses        Fees           Expenses
First Monthly         $25,000.00             $0.00      $25,000.00         $0.00          $0.00            $0.00
Fee Statement
[Docket No.
631]
8/2/2020—
8/31/2020
Second                $25,000.00             $0.00      $25,000.00         $0.00          $0.00            $0.00
Monthly Fee
Statement
[Docket No.
632]
9/1/2020—
9/30/2020
Third Monthly         $25,000.00             $0.00      $25,000.00         $0.00          $0.00            $0.00
Fee Statement
[Docket No.
633]
10/1/2020—
10/31/2020




 3     Pursuant to the Retention Order (as defined herein), the Debtors are authorized to pay the $25,000 Monthly Fee
       to Nfluence each month when requested under the Engagement Letters (as defined herein) without a prior fee
       application




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                           )
     In re:                                                                )    Chapter 11
                                                                           )
     LE TOTE, INC., et al.,1                                               )    Case No. 20-33332 (KLP)
                                                                           )
                              Debtors.                                     )    (Jointly Administered)
                                                                           )

                            FIRST INTERIM FEE
            APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
       BANKER FOR THE DEBTORS FOR COMPENSATION FOR PROFESSIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
     THE PERIOD FROM OCTOBER 1, 2020 TO AND INCLUDING OCTOBER 31, 2020

              HMAdviseCo, LLC d/b/a Nfluence Partners (“Nfluence”), the investment banker for the

 above captioned debtors and debtors in possession (collectively, the “Debtors”), request entry of

 an order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”) granting

 this first interim fee application (this “Interim Fee Application”), pursuant to sections 328, 330

 and 331 of title 11 of the United States Code (the “Bankruptcy Code”), rule 2016 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-1 of the Local Rules of the

 United States Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy

 Rules”) and the Order (I) Establishing Procedures for Interim Compensation and Reimbursement

 of Expenses for Retained Professionals and (II) Granting Related Relief, dated September 21, 2020

 [Docket No. 189] (the “Interim Compensation Order”), (a) granting interim allowance of

 compensation for professional services to the Debtors during the period from August 2, 2020,




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
       250 Vesey Street, 22nd Floor, New York, New York 10281.



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 through and including October 31, 2020 (the “Interim Compensation Period”) in the amount of

 $75,000.00, (b) granting interim allowance of Nfluence’s expenses incurred during the Interim

 Compensation Period in connection with such services in the amount of $0.00, and (c) directing

 payment of all such allowed compensation and expenses, less any amounts previously paid for

 such compensation and expenses. In support of this Interim Fee Application, Nfluence respectfully

 states as follows.

                                     Jurisdiction and Venue

         1.     The United States Bankruptcy Court for the Eastern District of Virginia

 (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

 Standing Order of Reference from the United States District Court for the Eastern District of

 Virginia, dated July 13, 1984.

         2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.     The bases for the relief requested herein are section 328(a), 330, and 331 of the

 Bankruptcy Code, Bankruptcy Rule 2016, and Local Bankruptcy Rule 2016-1 and the Interim

 Compensation Order.

                                           Background

         4.     On August 2, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 business and managing their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. On August 3, 2020, the Court entered an order [Docket No. 72]

 authorizing the joint administration and procedural consolidation of the chapter 11 cases pursuant

 to Bankruptcy Rule 1015(b). On August 12, 2020, the United States Trustee for the Eastern

 District of Virginia (the “U.S. Trustee”) appointed an official committee of unsecured creditors

 pursuant to section 1102 of the Bankruptcy Code (the “Committee”) [Docket No. 117].

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         5.     A description of the Debtors’ businesses, the reasons for commencing the chapter 11

 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are set

 forth in the Declaration of Ed Kremer, Chief Restructuring Officer, of Le Tote, Inc., in Support of

 Chapter 11 Petitions and First Day Motions, filed on the Petition Date [Docket No. 15],

 incorporated herein by reference.

                                            Relief Requested

         6.       By this Interim Fee Application, Nfluence requests entry of the Proposed Order,

 substantially in the form attached hereto as Exhibit A, (a) granting interim allowance of

 compensation for professional services to the Debtors during the Interim Compensation Period in

 the amount of $75,000.00, (b) granting interim allowance of Nfluence’s expenses incurred during

 the Interim Compensation Period in connection with such services in the amount of $0.00, and

 (c) directing payment of all such allowed compensation and expenses, less any amounts previously

 paid for such compensation and expenses.

         7.       Nfluence’s fees earned during the Interim Compensation include three monthly fee

 (each, a “Monthly Fee”) in the amount of $25,000.000 each, for the months of August, September,

 and October, for a total of $75,000.00 in Monthly Fees. All services for which compensation is

 requested by Nfluence were performed during the Interim Compensation Period on behalf of the

 Debtors. During the Interim Compensation Period, Nfluence performed significant services on

 behalf of the Debtors, including but not limited to, the following:

              Assisting the Debtors in connection with efforts involving the sale of assets, including,
               without limitation, assisting with (i) the preparation of related marketing and diligence
               materials, (ii) the Debtors’ solicitation and review of proposals from prospective
               buyers, (iii) managing a data room and facilitating all potential-buyer diligence request,
               including preparation, review, and analysis of diligence materials, (v) the coordination
               and preparation of the auction for the sale of the Debtors’ intellectual property and
               e-commerce assets, and (vi) coordination regarding the foregoing activities.

              Telephone conferences, correspondences, and other communications with the internal

                                                     3
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               Nfluence team, the Debtors and their advisors, prospective buyers, and other
               constituents throughout the case regarding various matters pertaining to the Debtors’
               chapter 11 cases; review of the Debtors’ filings and any news items pertaining thereto.

         8.       Although Nfluence, in line with market convention, does not bill by the hour,

 Nfluence has kept track of its post-petition time in one-half hour increments in accordance with

 the Retention Order. Such time records are attached hereto as Exhibit B. During the Interim

 Compensation Period, Nfluence professionals spent approximately 779.6 hours providing

 investment banking services to the Debtors.

         9.       The fees charged by Nfluence have been billed in accordance with Engagement

 Letters and the Retention Order and are comparable to those fees charged by Nfluence for

 professional services rendered in connection with similar non-bankruptcy matters. Nfluence

 submits that such fees are reasonable based upon the customary compensation charged by similarly

 skilled practitioners in comparable bankruptcy cases and non-bankruptcy matters in the

 competitive investment banking market.

         10.      Nfluence did not incur any actual or necessary expenses during the Interim

 Compensation Period in connection with its services to the Debtors



                                  [Remainder of page intentionally left blank]




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         WHEREFORE, Nfluence requests entry of the Proposed Order, substantially in the form

 attached hereto as Exhibit A, (a) granting interim allowance of compensation for professional

 services to the Debtors during the Interim Compensation Period in the amount of $25,000,

 (b) granting interim allowance of Nfluence’s expenses incurred during the Interim Compensation

 Period in connection with such services in the amount of $0.00, and (c) directing payment of all

 such allowed compensation and expenses, less any amounts previously paid for such compensation

 and expenses.



 Dated: December 15, 2020                     NFLUENCE Partners

                                              /s/ Gary Moon
                                              Gary Moon
                                              Managing Partner
                                              Nfluence Partners




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                                       Exhibit A

                                    Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                           )
     In re:                                                                )    Chapter 11
                                                                           )
     LE TOTE, INC., et al.,1                                               )    Case No. 20-33332 (KLP)
                                                                           )
                              Debtors.                                     )    (Jointly Administered)
                                                                           )

                   ORDER GRANTING FIRST INTERIM FEE
            APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
       BANKER FOR THE DEBTORS FOR COMPENSATION FOR PROFESSIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
     THE PERIOD FROM OCTOBER 1, 2020 TO AND INCLUDING OCTOBER 31, 2020

              Upon the application (the “Interim Fee Application”)2 of HMAdviseCo, LLC d/b/a

 Nfluence Partners (“Nfluence”), the investment banker for the above captioned debtors and debtors

 in possession (collectively, the “Debtors”), for entry of an order (this “Order”), pursuant to

 sections 328, 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, Local Bankruptcy Rule

 2016-1, and the Interim Compensation Order, for allowance of interim compensation for

 professional services rendered by Nfluence during the period from the Petition Date to and

 including October 31, 2020 (the “Interim Compensation Period”) in the amount of $75,000.00 and

 reimbursement of expenses incurred during such period in connection with such services in the

 amount of $0.00; and this Court having determined that the legal and factual bases set forth in the

 Interim Fee Application establish just cause for the relief granted herein; and after due deliberation

 and sufficient cause appearing therefore,


 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
       250 Vesey Street, 22nd Floor, New York, New York 10281.

 2     Unless otherwise stated, all capitalized terms used but not otherwise defined herein shall have the meanings
       ascribed to such terms in the Interim Fee Application.



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         IT IS HEREBY ORDERED THAT:

         1.    The Interim Fee Application is GRANTED as set forth herein.

         2.    Nfluence allowed compensation for professional services rendered during the

 Interim Compensation Period in the amount of $75,000.00.

         3.    Nfluence is allowed reimbursement of expenses incurred during the Interim

 Compensation Period in connection with its services to the Debtors in the amount of $0.00.

         4.    The Debtors are authorized and directed to pay Nfluence all fees and expenses

 allowed pursuant to this Order, less any amounts previously paid for such fees and expenses.

         5.    The Debtors are authorized to take all actions necessary to effectuate the relief

 granted by this Order in accordance with the Interim Fee Application.




  Dated: ____________
  Richmond, Virginia                              United States Bankruptcy Judge




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  WE ASK FOR THIS:

  /s/ Jeremy S. Williams
  Michael A. Condyles (VA 27807)
  Peter J. Barrett (VA 46179)
  Jeremy S. Williams (VA 77469)
  Brian H. Richardson (VA 92477)
  KUTAK ROCK LLP
  901 East Byrd Street, Suite 1000
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  Facsimile:          (804) 783-6192

  - and -

  Steven N. Serajeddini, P.C. (admitted pro hac vice)
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  - and -

  David L. Eaton (admitted pro hac vice)
  Jaimie Fedell (admitted pro hac vice)
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  Co-Counsel to the Debtors and Debtors in Possession




                                     CERTIFICATION OF ENDORSEMENT
                                  UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

 Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order has been endorsed
                                     by or served upon all necessary parties.

                                                    /s/Jeremy S. Williams




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                                     Exhibit B

                                   Hours Detail




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                                                    Summary of Hours Worked - Total
 DATE       HOURS                            DESRCIPTION
8/1/2020   3.0 hour(s)     Gaurav Gaitonde   Diligence work for Rue Gilt
8/2/2020   1.5 hour(s)     Gary Moon         Messages to Kirkland, Le Tote
8/3/2020   1.0 hour(s)     Gary Moon         Meeting Prep
8/3/2020   0.5 hour(s)     Gary Moon         Call with Ed
8/3/2020   0.5 hour(s)     Gary Moon         O3 Intro Call
8/3/2020   1.5 hour(s)     Gary Moon         Messages to Monica Goomez, Le Tote, O3, Kirkland, Kingswood, James Moon
8/3/2020   1.0 hour(s)     Gary Moon         Le Tote / RTR Tech Demo
8/3/2020   0.5 hour(s)     Gary Moon         Call AK Growth Ventures
8/3/2020   0.5 hour(s)     Monica Mariani    O3 Intro Call
8/3/2020   1.0 hour(s)     Monica Mariani    Le Tote / RTR Tech Demo
8/3/2020   0.5 hour(s)     Gaurav Gaitonde   Call with O3 Industries
8/3/2020   1.0 hour(s)     Gaurav Gaitonde   Call with LeTote Management and Rent the Runway (RTR)
8/3/2020   1.0 hour(s)     Gaurav Gaitonde   Prep for calls with RTR and Hilco / Retail Ecomm
8/3/2020   0.5 hour(s)     Gaurav Gaitonde   Messaging with Tengram, AK Growth, Rue Gilt
8/3/2020   0.5 hour(s)     Peter Lindae      O3 Intro Call
8/3/2020   0.5 hour(s)     Peter Lindae      Lender Call Update Prep
8/3/2020   1.0 hour(s)     Peter Lindae      Prep for calls with RTR and Hilco / Retail Ecomm
8/3/2020   1.0 hour(s)     Peter Lindae      Process Tracking and Mangement
8/3/2020   4.0 hour(s)     Peter Lindae      Post-Bid Date Review & Bidder Profiles Preparation
8/4/2020   0.5 hour(s)     Gary Moon         Material Review
8/4/2020   2.0 hour(s)     Gary Moon         Messages to Kirkland, Internal, Azure Capital, Elliott Management, Amazon, Kingswood Capital,
                                             Nevim Equity, Angelo Gordon AK Growth, Retail Ecommerce, Hilco Global, Monica Gomez
8/4/2020   0.5   hour(s)   Gary Moon         Call with Ed
8/4/2020   1.0   hour(s)   Gary Moon         Le Tote / RTR Digital P&L
8/4/2020   0.5   hour(s)   Gary Moon         TPG Intro Call
8/4/2020   0.5   hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/4/2020   1.0   hour(s)   Monica Mariani    Le Tote / RTR Digital P&L
8/4/2020   0.5   hour(s)   Monica Mariani    TPG Intro Call
8/4/2020   0.5   hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/4/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T Management and Hilco / Retail Ecomm
8/4/2020   5.0   hour(s)   Gaurav Gaitonde   Diligence work for Rue Gilt, AK Growth
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Call with TPG
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with O3, Amazon
8/4/2020   0.5   hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/4/2020   1.0   hour(s)   Peter Lindae      Call with L&T Management and Hilco / Retail Ecomm
8/4/2020   2.0   hour(s)   Peter Lindae      Diligence work for Rue Gilt, AK Growth
8/4/2020   0.5   hour(s)   Peter Lindae      Call with TPG
8/4/2020   1.5   hour(s)   Peter Lindae      Bid and Process Tracking
8/4/2020   3.0   hour(s)   Peter Lindae      BOD Presentation Preperation
8/4/2020   1.0   hour(s)   Peter Lindae      Bid Package Review & Bidder Profiles Preparation
8/5/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/5/2020   0.5   hour(s)   Gary Moon         SPS World intro call
8/5/2020   1.0   hour(s)   Gary Moon         BID Package BOD Discussion
8/5/2020   0.5   hour(s)   Gary Moon         Amazon Intro Call
8/5/2020   0.5   hour(s)   Gary Moon         Kingswood Coordination
8/5/2020   0.5   hour(s)   Gary Moon         Neviim Equity Intro Call
8/5/2020   0.5   hour(s)   Gary Moon         Kingswood Call
8/5/2020   1.5   hour(s)   Gary Moon         Messages with Monica Gomez, Client, Kingswood, Saadia, Harry & Rajeev, Amazon
8/5/2020   0.5   hour(s)   Monica Mariani    SPS World intro call
8/5/2020   1.0   hour(s)   Monica Mariani    BID Package BOD Discussion
8/5/2020   0.5   hour(s)   Monica Mariani    Amazon Intro Call
8/5/2020   1.0   hour(s)   Monica Mariani    Scheduling/Prep for Kingswood
8/5/2020   0.5   hour(s)   Monica Mariani    Kingswood Coordination
8/5/2020   0.5   hour(s)   Monica Mariani    Neviim Equity Intro Call
8/5/2020   0.5   hour(s)   Monica Mariani    Kingswood Call
8/5/2020   1.0   hour(s)   Monica Mariani    Email exchanges for Sycamore (Dataroom, NDAs coordination etc)
8/5/2020   2.0   hour(s)   Monica Mariani    Coordination with Pat (Controller) on Inventory NOLV as of June/July
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with SPS World
8/5/2020   1.0   hour(s)   Gaurav Gaitonde   Call with Board to discuss bids
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Kingswood, Sycamore, Neviim
8/5/2020   1.5   hour(s)   Gaurav Gaitonde   Diligence work for O3
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Amazon
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Management regarding Kingswood
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Neviim
8/5/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Kingswood
8/5/2020   1.0   hour(s)   Peter Lindae      Call with Board to review Bids
8/5/2020   0.5   hour(s)   Peter Lindae      Call with Amazon
8/5/2020   0.5   hour(s)   Peter Lindae      Call with NEViiM Equity
8/5/2020   0.5   hour(s)   Peter Lindae      Call with Kingswood
8/6/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/6/2020   0.5   hour(s)   Gary Moon         Target Intro Call
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                                                      Summary of Hours Worked - Total
  DATE       HOURS                            DESRCIPTION
8/6/2020    0.5 hour(s)     Gary Moon         Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Gary Moon         Internal sync call
8/6/2020    0.5 hour(s)     Monica Mariani    Target Intro Call
8/6/2020    0.5 hour(s)     Monica Mariani    Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Monica Mariani    Internal sync call
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Target
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Skyview
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Kaplan & Moon
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
8/6/2020    0.5 hour(s)     Gaurav Gaitonde   Internal Nfluence sync on deal
8/6/2020    2.0 hour(s)     Gaurav Gaitonde   Diligence work for Neviim
8/6/2020    2.0 hour(s)     Peter Lindae      Process Tracking and BOD Update Preparation
8/6/2020    0.5 hour(s)     Peter Lindae      Intro Call with Target
8/6/2020    0.5 hour(s)     Peter Lindae      Kaplan & Moon Intro Call
8/6/2020    0.5 hour(s)     Peter Lindae      Internal Team Sync
8/7/2020    0.5 hour(s)     Gary Moon         Material Review
8/7/2020    0.5 hour(s)     Gary Moon         Hilco Intro Call
8/7/2020    0.5 hour(s)     Gary Moon         Call with Ed
8/7/2020    0.5 hour(s)     Gary Moon         AK Growth Call
8/7/2020    1.5 hour(s)     Gary Moon         Messages with Client, O3, Monica Gomez, Kirkland, Think BRG
8/7/2020    0.5 hour(s)     Monica Mariani    Hilco Intro Call
8/7/2020    0.5 hour(s)     Monica Mariani    AK Growth Call
8/7/2020    3.0 hour(s)     Monica Mariani    Follow-up DD on Customer List
8/7/2020    1.0 hour(s)     Monica Mariani    Coordinate/schedule several calls (Amazon, AK Growth, etc.)
8/7/2020    0.5 hour(s)     Gaurav Gaitonde   Call with Hilco
8/7/2020    0.5 hour(s)     Gaurav Gaitonde   Call with AK Growth
8/7/2020    4.0 hour(s)     Gaurav Gaitonde   Diligence work for RTR, SPS Commerce, AK Growth
8/7/2020    0.5 hour(s)     Peter Lindae      Call with Hilco
8/7/2020    0.5 hour(s)     Peter Lindae      Call with AK Growth
8/7/2020    2.0 hour(s)     Peter Lindae      Diligence work for RTR, SPS Commerce, AK Growth
8/10/2020   1.0 hour(s)     Monica Mariani    Coordination and answering follow-ups from Kingswood Capital
8/10/2020   2.0 hour(s)     Gaurav Gaitonde   Diligence work for Neviim
8/10/2020   2.5 hour(s)     Peter Lindae      Process Tracking and Mangement
8/10/2020   1.5 hour(s)     Peter Lindae      Coordination for Kingswood Capital, Amazon, AK Growth
8/11/2020   0.5 hour(s)     Gary Moon         Material Review
8/11/2020   1.5 hour(s)     Gary Moon         Messages with Monica Gomez, Kirkland, Think BRG, Nevim Equity Zar group
8/11/2020   0.5 hour(s)     Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/11/2020   1.0 hour(s)     Gary Moon         AK Growth /Rajeev and Harry DD Call
8/11/2020   0.5 hour(s)     Monica Mariani    Estee Lauder Intro Call
8/11/2020   0.5 hour(s)     Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/11/2020   1.0 hour(s)     Monica Mariani    AK Growth /Rajeev and Harry DD Call
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Estee Lauder
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/11/2020   1.0 hour(s)     Gaurav Gaitonde   Call with L&T management and AK Growth
8/11/2020   0.5 hour(s)     Gaurav Gaitonde   Messaging with Skyview, SPS Commerce
8/11/2020   1.0 hour(s)     Gaurav Gaitonde   Work on Le Tote model
8/11/2020   0.5 hour(s)     Peter Lindae      Call with Estee Lauder
8/11/2020   1.0 hour(s)     Peter Lindae      Call with L&T management and AK Growth
8/12/2020   0.5 hour(s)     Gary Moon         Material Review
8/12/2020   1.5 hour(s)     Gary Moon         Messages to Zar Group, Kirkland, Neviim Equity, client, Kingswood
8/12/2020   1.0 hour(s)     Gary Moon         Estee Lauder Follow-up Call
8/12/2020   0.5 hour(s)     Gary Moon         Call with Ed Kremer
8/12/2020   1.0 hour(s)     Gary Moon         Neviim Follow-up Call
8/12/2020   2.0 hour(s)     Monica Mariani    Follow-ups on inventory DD questions
8/12/2020   1.5 hour(s)     Monica Mariani    Follow-ups/Preparation for Estee Lauder Call
8/12/2020   1.0 hour(s)     Monica Mariani    Estee Lauder Follow-up Call
8/12/2020   1.0 hour(s)     Monica Mariani    Neviim Follow-up Call
8/12/2020   1.0 hour(s)     Monica Mariani    Follow-ups for Rajeev and Harry on Digital inventory
8/12/2020   0.5 hour(s)     Monica Mariani    Consensus NDA turns
8/12/2020   3.0 hour(s)     Monica Mariani    Follow-up responses for Rajeev & Harry on Current DC inventory breakdown by brand, cost price,
                                              retail price, etc.
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Consensus
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Neviim
8/12/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Consensus, Saadia, Tengram
8/12/2020   2.0   hour(s)   Peter Lindae      Follow-ups work on DD questions
8/12/2020   3.0   hour(s)   Peter Lindae      Process Tracking and Mangement BOD Prep | Bid Comparison Update
8/12/2020   1.0   hour(s)   Peter Lindae      Neviim Follow-up Call
8/12/2020   3.5   hour(s)   Peter Lindae      Inventory DD Follow-ups for AK Growth
8/13/2020   0.5   hour(s)   Gary Moon         Meeting Prep
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  DATE       HOURS                            DESRCIPTION
8/13/2020   1.0 hour(s)     Gary Moon         Neviim Call
8/13/2020   0.5 hour(s)     Gary Moon         Saadia Intro Call
8/13/2020   1.5 hour(s)     Gary Moon         Messages to Saadia, Kirkland, Monica Gomez
8/13/2020   0.5 hour(s)     Monica Mariani    Neviim Follow-up Call
8/13/2020   0.5 hour(s)     Monica Mariani    Saadia Intro Call
8/13/2020   2.0 hour(s)     Monica Mariani    Follow-up from CSC Generation
8/13/2020   1.0 hour(s)     Monica Mariani    Estee Lauder NDA turns
8/13/2020   6.0 hour(s)     Monica Mariani    Rajeev & Harry requests - reformating and redoing DD items
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Target
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Neviim
8/13/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Saadia
8/13/2020   2.0 hour(s)     Gaurav Gaitonde   Diligence work for CSC
8/13/2020   0.5 hour(s)     Peter Lindae      Call with Target
8/13/2020   0.5 hour(s)     Peter Lindae      Follow-up Call with Neviim
8/13/2020   3.0 hour(s)     Peter Lindae      BOD Update Preparation
8/13/2020   5.0 hour(s)     Peter Lindae      Rajeev & Harry / AK Growth Requests - DD items
8/13/2020   1.0 hour(s)     Peter Lindae      Diligence work for CSC
8/14/2020   1.0 hour(s)     Monica Mariani    CSC follow-ups
8/14/2020   3.0 hour(s)     Monica Mariani    Additional outreach to new potential interested parties Story 3 Capital and research to find those
                                              potential parties
8/14/2020   6.0   hour(s)   Monica Mariani    Follow-up requests from AK Growth
8/14/2020   2.0   hour(s)   Gaurav Gaitonde   Diligence work for AK Growth
8/14/2020   3.0   hour(s)   Peter Lindae      Follow-up requests from AK Growth
8/14/2020   1.5   hour(s)   Peter Lindae      Process Tracking and Management
8/17/2020   1.0   hour(s)   Gary Moon         Call AK Growth Follow-up
8/17/2020   0.5   hour(s)   Gary Moon         Internal Sync Call
8/17/2020   1.5   hour(s)   Gary Moon         Messages to client and kirkland, Saadia, AK Growth, Neviim Equity
8/17/2020   0.5   hour(s)   Monica Mariani    Zar Call for DR access
8/17/2020   3.0   hour(s)   Monica Mariani    Additional requests, calls, email exchanges from Zar
8/17/2020   1.0   hour(s)   Monica Mariani    Prep for AK Growth follow-up
8/17/2020   1.0   hour(s)   Monica Mariani    AK Growth Follow-up
8/17/2020   0.5   hour(s)   Monica Mariani    Internal Sync Call
8/17/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T management and AK Growth
8/17/2020   0.5   hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
8/17/2020   0.5   hour(s)   Gaurav Gaitonde   Messaging with Consensus, Saadia, Solitaire, Neviim
8/17/2020   1.0   hour(s)   Gaurav Gaitonde   Diligence work for Neviim
8/17/2020   0.5   hour(s)   Peter Lindae      Internal Nfluence sync on deal
8/17/2020   1.0   hour(s)   Peter Lindae      Call with L&T management and AK Growth
8/17/2020   2.0   hour(s)   Peter Lindae      Process Tracking & Management
8/18/2020   1.0   hour(s)   Gary Moon         Material Review
8/18/2020   0.5   hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/18/2020   1.5   hour(s)   Gary Moon         Messages to Client, Kirkland, Zar Group, Harry & Rajeev, BDO
8/18/2020   1.0   hour(s)   Gary Moon         Amazon Store Discussion
8/18/2020   1.0   hour(s)   Gary Moon         AK Growth Call
8/18/2020   0.5   hour(s)   Monica Mariani    Story 3 Capital Intro Call
8/18/2020   0.5   hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/18/2020   1.0   hour(s)   Monica Mariani    Amazon Store Discussion
8/18/2020   4.0   hour(s)   Monica Mariani    AK Growth Followups
8/18/2020   0.5   hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/18/2020   1.0   hour(s)   Gaurav Gaitonde   Call with L&T Management and Amazon
8/18/2020   1.0   hour(s)   Peter Lindae      Call with L&T Management and Amazon
8/18/2020   3.0   hour(s)   Peter Lindae      Diligence and Follow-ups | AK Growth
8/19/2020   0.5   hour(s)   Gary Moon         Internal Sync Call
8/19/2020   1.0   hour(s)   Gary Moon         Call with Michele Simonato about Le Tote
8/19/2020   0.5   hour(s)   Monica Mariani    Internal Sync Call
8/19/2020   4.0   hour(s)   Monica Mariani    Research on additional names - searching through "losing parties" at other retail bankruptcies
8/19/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Solitaire
8/19/2020   0.5   hour(s)   Peter Lindae      Internal Sync Call
8/19/2020   1.5   hour(s)   Peter Lindae      Process Tracking & BOD Prep
8/19/2020   4.0   hour(s)   Peter Lindae      Market Check & Bankruptcy Research
8/20/2020   1.0   hour(s)   Gary Moon         Meeting Prep
8/20/2020   0.5   hour(s)   Gary Moon         BDO Weekly
8/20/2020   1.5   hour(s)   Gary Moon         Messages to Kirkland, BDO, Client, Harry & Rajeev, AK Growth
8/20/2020   1.0   hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   0.5   hour(s)   Monica Mariani    Amazon Catch-up
8/20/2020   1.0   hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   1.0   hour(s)   Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
8/20/2020   4.0   hour(s)   Peter Lindae      Process Tracking and BOD Update Preparation
8/21/2020   0.5   hour(s)   Gary Moon         BDO Call
8/21/2020   1.0   hour(s)   Monica Mariani    Check-in on Amazon and others
8/21/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Skyview
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  DATE       HOURS                          DESRCIPTION
8/21/2020   1.0 hour(s)   Peter Lindae      Active Parties Follow-ups and DD Requests
8/24/2020   0.5 hour(s)   Gary Moon         Messages to Kirkland
8/24/2020   1.0 hour(s)   Monica Mariani    Story3 Capital NDA Discussion
8/24/2020   2.0 hour(s)   Peter Lindae      Process Tracking Management
8/25/2020   0.5 hour(s)   Gary Moon         Material Review
8/25/2020   0.5 hour(s)   Gary Moon         Messages to Client
8/25/2020   0.5 hour(s)   Gary Moon         LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/25/2020   0.5 hour(s)   Gary Moon         Call Le Tote / L&T
8/25/2020   1.0 hour(s)   Monica Mariani    Story3 Dataroom and additional questions
8/25/2020   0.5 hour(s)   Monica Mariani    LeTote and Lord & Taylor Carlyle Standing Weekly Call
8/25/2020   1.0 hour(s)   Monica Mariani    Coordination for Saadia
8/25/2020   2.0 hour(s)   Monica Mariani    Chasing and daily check-ins on unresponsive parties
8/25/2020   1.0 hour(s)   Monica Mariani    Zar call for additional clarifications
8/25/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
8/25/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Saadia, Mason
8/25/2020   1.0 hour(s)   Peter Lindae      Active Parties Follow-Ups & Information Gathering
8/26/2020   1.0 hour(s)   Gary Moon         Call Le Tote - Sale Process Update with BDO
8/26/2020   1.0 hour(s)   Gary Moon         Target Follow-Up Discussion
8/26/2020   1.0 hour(s)   Monica Mariani    Target Follow-Up Discussion
8/26/2020   1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote and L&T Management and Target
8/26/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with BDO, Saadia
8/26/2020   1.0 hour(s)   Peter Lindae      Call with Le Tote and L&T Management and Target
8/26/2020   2.0 hour(s)   Peter Lindae      Process Tracking & Management
8/27/2020   0.5 hour(s)   Gary Moon         Saadia Follow-Up
8/27/2020   0.5 hour(s)   Gary Moon         Internal Sync Call
8/27/2020   1.0 hour(s)   Monica Mariani    Coordination SixthStreet and intro call
8/27/2020   0.5 hour(s)   Monica Mariani    TPG Follow-Up
8/27/2020   0.5 hour(s)   Monica Mariani    Saadia Follow-Up
8/27/2020   1.0 hour(s)   Monica Mariani    Estee Lauder Follow-Up
8/27/2020   0.5 hour(s)   Monica Mariani    Internal Sync Call
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Saadia
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
8/27/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Consensus, Solitaire, BDO, Mason
8/27/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
8/27/2020   4.0 hour(s)   Peter Lindae      Outreach and Bid Update Review
8/28/2020   0.5 hour(s)   Monica Mariani    Estee Lauder Follow-Up
8/28/2020   2.5 hour(s)   Peter Lindae      Outreach and Bid Update Preperation
8/31/2020   1.5 hour(s)   Gary Moon         Prepare Amendment details
8/31/2020   0.5 hour(s)   Gary Moon         Call Le Tote Amendment
8/31/2020   3.0 hour(s)   Monica Mariani    Clarifying questions from Estee Lauder on Customer List etc to Dave MacDougall
8/31/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Saadia, BDO, AK Growth
8/31/2020   3.0 hour(s)   Peter Lindae      ABL Research and Analysis for Internal Review
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                                                  Summary of Hours Worked - Total
 DATE         HOURS                         DESRCIPTION
9/1/2020   1.5 hour(s)    Monica Mariani    Call with LeTote and LT Management & Solitaire
9/1/2020   1.5 hour(s)    Gaurav Gaitonde   Call with LeTote and L&T Management & Solitaire
9/1/2020   0.5 hour(s)    Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
9/1/2020   0.5 hour(s)    Gaurav Gaitonde   Call with Mason
9/1/2020   1.5 hour(s)    Peter Lindae      Call with LeTote and LT Management & Solitaire
9/1/2020   2.0 hour(s)    Peter Lindae      Process Tracking Management, ABL Research
9/2/2020   0.5 hour(s)    Monica Mariani    Intro call with Verite Capital
9/2/2020   0.5 hour(s)    Monica Mariani    Call with Zar Group, Richard Silverstien on stalking horse questions
9/2/2020   0.5 hour(s)    Monica Mariani    Call with Management on AK Growth DD Requests
9/2/2020   2.0 hour(s)    Monica Mariani    Worked on AK DD requests
9/2/2020   0.5 hour(s)    Gaurav Gaitonde   Intro call with Venus
9/2/2020   0.5 hour(s)    Gaurav Gaitonde   Intro call with Creditntell
9/2/2020   0.5 hour(s)    Gaurav Gaitonde   Call AK Growth | Le Tote
9/2/2020   0.5 hour(s)    Gaurav Gaitonde   Messaging with Venus, Target, Saadia, Marquee Brands
9/2/2020   1.0 hour(s)    Gaurav Gaitonde   ABL List for AK Growth
9/2/2020   1.0 hour(s)    Gaurav Gaitonde   Diligence work for Saadia
9/2/2020   2.0 hour(s)    Peter Lindae      AK Growth Diligence Requests
9/2/2020   1.0 hour(s)    Peter Lindae      Process Tracking Management
9/3/2020   0.5 hour(s)    Monica Mariani    Intro call with Myron Bowling
9/3/2020   1.5 hour(s)    Monica Mariani    Call with LeTote and LT Management & Saadia
9/3/2020   0.5 hour(s)    Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
9/3/2020   1.0 hour(s)    Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
9/3/2020   1.5 hour(s)    Monica Mariani    Estee Lauder exchanges & customer data follow-ups
9/3/2020   0.5 hour(s)    Gaurav Gaitonde   Prep for Saadia calls
9/3/2020   1.5 hour(s)    Gaurav Gaitonde   Call with LeTote and L&T Management & Saadia
9/3/2020   1.0 hour(s)    Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
9/3/2020   0.5 hour(s)    Gaurav Gaitonde   Call with Neuberger Berman
9/3/2020   1.0 hour(s)    Gaurav Gaitonde   Work on Saadia diligence requests
9/3/2020   2.0 hour(s)    Peter Lindae      Process Tracking and BOD Update Preparation
9/3/2020   1.5 hour(s)    Peter Lindae      Bidding Procedures Tracking Update
9/3/2020   1.5 hour(s)    Peter Lindae      Call with LeTote and LT Management & Saadia
9/4/2020   0.5 hour(s)    Monica Mariani    Verite Capital Dataroom walk-through
9/4/2020   2.0 hour(s)    Monica Mariani    Verite Capital follow-ups
9/4/2020   0.5 hour(s)    Monica Mariani    Call with Saadia on DD Follow-ups
9/4/2020   0.5 hour(s)    Monica Mariani    Call with DSW on General Transaction Matters
9/4/2020   0.5 hour(s)    Monica Mariani    Call with Hilco on General Transaction Matters
9/4/2020   0.5 hour(s)    Gaurav Gaitonde   Internal Nfluence sync on deal
9/4/2020   0.5 hour(s)    Gaurav Gaitonde   Call with Saadia on DD follow-ups
9/4/2020   0.5 hour(s)    Gaurav Gaitonde   Call with Hilco on general transaction matters
9/4/2020   0.5 hour(s)    Gaurav Gaitonde   Call with Solitaire on general transaction matters
9/4/2020   0.5 hour(s)    Gaurav Gaitonde   Call with DSW on general transaction matters
9/4/2020   0.50 hour(s)   Gaurav Gaitonde   Messaging with Recircled, DSW, Brookfield, Rue Gilt, Caastle, Elliot, Saadia
9/4/2020   0.5 hour(s)    Peter Lindae      Updates for Stretto Notice
9/7/2020   1.0 hour(s)    Gary Moon         L&T Internal
9/7/2020   0.5 hour(s)    Monica Mariani    Internal sync call
9/7/2020   1.00 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
9/7/2020   1.0 hour(s)    Peter Lindae      Internal Process Call
9/7/2020   1.5 hour(s)    Peter Lindae      Internal Bid Side-by-side Review
9/8/2020   0.5 hour(s)    Gary Moon         Material Review
9/8/2020   0.5 hour(s)    Gary Moon         Solitaire Follow Up
9/8/2020   0.5 hour(s)    Gary Moon         Internal Sync
9/8/2020   0.5 hour(s)    Gary Moon         Call with Hilco Global
9/8/2020   0.5 hour(s)    Monica Mariani    Call with Solitaire on DD Follow-ups
9/8/2020   0.5 hour(s)    Monica Mariani    Internal call to Discuss General Transaction Matters
9/8/2020   0.5 hour(s)    Monica Mariani    Call with Hilco on General Transaction Matters
9/8/2020   3.0 hour(s)    Monica Mariani    Prep deck for Solitaire (floor plan deck; multiple calls with Bobby and teeam to get deck ready)
9/8/2020   1.0 hour(s)    Monica Mariani    Multiple exchanges for NDA execution for Grand Metropolitan
9/8/2020   0.5 hour(s)    Gaurav Gaitonde   Discussion with LT/L&T on Solitaire follow-ups
9/8/2020   0.5 hour(s)    Gaurav Gaitonde   Discussion with L&T on Citi model
9/8/2020   2.0 hour(s)    Gaurav Gaitonde   Work on Citi model
9/8/2020   0.5 hour(s)    Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
9/8/2020   0.50 hour(s)   Gaurav Gaitonde   Call with Hilco on general transaction matters
9/8/2020   0.5 hour(s)    Gaurav Gaitonde   Discussions with Mason
9/8/2020   1.0 hour(s)    Gaurav Gaitonde   Work on offer comparison grid
9/8/2020   0.5 hour(s)    Peter Lindae      Call with Solitaire on DD Follow-ups
9/8/2020   0.5 hour(s)    Peter Lindae      Internal call to Discuss General Transaction Matters
9/8/2020   0.5 hour(s)    Peter Lindae      Call with Hilco on General Transaction Matters
9/8/2020   1.0 hour(s)    Peter Lindae      Process Tracking Management
9/8/2020   0.5 hour(s)    Peter Lindae      Market Conditions & Deal Intelligence Review
9/9/2020   1.0 hour(s)    Gary Moon         Meeting Prep
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  DATE         HOURS                         DESRCIPTION
9/9/2020    1.5 hour(s)    Gary Moon         Joint Bid Call/Solitaire Follow up
9/9/2020    1.0 hour(s)    Gary Moon         Call with Zar Group
9/9/2020    1.0 hour(s)    Gary Moon         Call with Saadia
9/9/2020    1.0 hour(s)    Monica Mariani    Multiple exchanges for NDA execution for Otto
9/9/2020    2.0 hour(s)    Monica Mariani    Follow-up DD requests from Otto/Venus and call
9/9/2020    1.0 hour(s)    Monica Mariani    Call with Solitaire on DD Follow-ups
9/9/2020    1.0 hour(s)    Monica Mariani    Story 3 Capital intro and exchanges
9/9/2020    1.0 hour(s)    Monica Mariani    Prep Management for Zar Call
9/9/2020    1.0 hour(s)    Monica Mariani    Zar DD follow-ups
9/9/2020    1.0 hour(s)    Monica Mariani    Call with Zar Group and Management on DD
9/9/2020    1.0 hour(s)    Monica Mariani    Call with Saadia with Management on DD
9/9/2020    0.5 hour(s)    Monica Mariani    Call with Zar on General Transaction Matters
9/9/2020    0.5 hour(s)    Monica Mariani    Call with Management (VP Supply Chain)
9/9/2020    1.0 hour(s)    Monica Mariani    Myron Bowling mutliple exchanges
9/9/2020    1.0 hour(s)    Gaurav Gaitonde   Discussion with LT/L&T on Solitaire follow-ups
9/9/2020    1.0 hour(s)    Gaurav Gaitonde   Call with L&T Management & Zar Group
9/9/2020    1.0 hour(s)    Gaurav Gaitonde   Call with LeTote and L&T Management & Saadia
9/9/2020    4.0 hour(s)    Gaurav Gaitonde   Work in Citi model
9/9/2020    1.0 hour(s)    Gaurav Gaitonde   Work on Saadia diligence requests
9/9/2020    1.0 hour(s)    Peter Lindae      Market Conditions & Deal Intelligence Review
9/9/2020    1.0 hour(s)    Peter Lindae      Call with Saadia with Management on DD
9/9/2020    1.0 hour(s)    Peter Lindae      Process Tracking and BOD Update Preparation
9/10/2020   1.0 hour(s)    Gary Moon         Material Review
9/10/2020   0.5 hour(s)    Gary Moon         Internal Sync
9/10/2020   2.0 hour(s)    Gary Moon         Call Le Tote and Saadia Follow up
9/10/2020   1.0 hour(s)    Gary Moon         Le Tote Standing Board Call
9/10/2020   2.0 hour(s)    Monica Mariani    Review BRG liquidation model
9/10/2020   0.5 hour(s)    Monica Mariani    Call with Myron Bowling on General Transaction Matters
9/10/2020   2.0 hour(s)    Monica Mariani    Coordinating Myron Bowling requests for in-person tour of facility and questions on equipment
                                             within those facilities
9/10/2020   0.5 hour(s)    Monica Mariani    Internal sync call
9/10/2020   2.0 hour(s)    Monica Mariani    Call with Saadia and Management on DD
9/10/2020   1.0 hour(s)    Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
9/10/2020   1.0 hour(s)    Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
9/10/2020   0.5 hour(s)    Monica Mariani    Call with Kirkland on General Transaction Matters
9/10/2020   0.5 hour(s)    Gaurav Gaitonde   Internal Nfluence sync on deal
9/10/2020   2.0 hour(s)    Gaurav Gaitonde   Call with LeTote and L&T Management & Saadia
9/10/2020   1.0 hour(s)    Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
9/10/2020   1.0 hour(s)    Gaurav Gaitonde   Work on Saadia diligence requests
9/10/2020   10.0 hour(s)   Gaurav Gaitonde   Updates on Citi model and small stores model
9/10/2020   0.5 hour(s)    Peter Lindae      Internal Sync Call
9/10/2020   0.50 hour(s)   Peter Lindae      Internal call to Discuss General Transaction Matters
9/10/2020   2.00 hour(s)   Peter Lindae      Review BRG liquidation model
9/10/2020   2.0 hour(s)    Peter Lindae      Call with Saadia and Management on DD
9/10/2020   1.0 hour(s)    Peter Lindae      Process Tracking and BOD Update Preparation
9/10/2020   1.0 hour(s)    Peter Lindae      Internal Bid Side-by-side Preparation
9/10/2020   0.5 hour(s)    Peter Lindae      Updates for Stretto Notice
9/10/2020   0.50 hour(s)   Peter Lindae      Call with KE on Stretto Notices
9/11/2020   0.5 hour(s)    Gary Moon         Material Review
9/11/2020   0.5 hour(s)    Gary Moon         Call with BRG on General Transaction Matters
9/11/2020   1.0 hour(s)    Gary Moon         Messaging Saadia, NYL Investors
9/11/2020   1.0 hour(s)    Gary Moon         Internal Call to Discuss Solitaire
9/11/2020   1.0 hour(s)    Gary Moon         Call with Solitaire on DD Follow-ups
9/11/2020   0.5 hour(s)    Gary Moon         Call Le Tote | Saadia
9/11/2020   0.5 hour(s)    Monica Mariani    Call with BRG on General Transaction Matters
9/11/2020   1.0 hour(s)    Monica Mariani    Call with Solitaire on DD Follow-ups
9/11/2020   1.0 hour(s)    Monica Mariani    Call with Solitaire on DD Follow-ups
9/11/2020   1.0 hour(s)    Gaurav Gaitonde   Model discussion with L&T management
9/11/2020   0.5 hour(s)    Gaurav Gaitonde   Call with BRG on General Transaction Matters
9/11/2020   1.0 hour(s)    Gaurav Gaitonde   Call with L&T Management and Solitaire
9/11/2020   2.0 hour(s)    Gaurav Gaitonde   Diligence work for Saadia and Solitaire
9/11/2020   1.0 hour(s)    Gaurav Gaitonde   Work on Citi and small stores model
9/11/2020   1.0 hour(s)    Peter Lindae      Call with Solitaire on Diligence Follow-ups
9/11/2020   1.0 hour(s)    Peter Lindae      Call with Solitaire on Diligence Follow-ups
9/11/2020   0.5 hour(s)    Peter Lindae      Updates for Stretto Notice
9/11/2020   1.5 hour(s)    Peter Lindae      Process Tracking Management
9/13/2020   0.5 hour(s)    Gaurav Gaitonde   Prep for Saadia calls
9/14/2020   0.5 hour(s)    Gary Moon         Material Review
9/14/2020   1.0 hour(s)    Gary Moon         Call with Solitaire on DD Follow-ups - Infrastructure/Technical call
9/14/2020   1.5 hour(s)    Gary Moon         Messaging Saadia, G-III, David Peress, Rajeev & Harry, Solitaire, Kirkland
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  DATE         HOURS                        DESRCIPTION
9/14/2020   1.0 hour(s)   Gary Moon         Call with Management L&T
9/14/2020   1.0 hour(s)   Monica Mariani    Call with Solitaire on DD Follow-ups - Infrastructure/Technical call
9/14/2020   1.0 hour(s)   Monica Mariani    Call with Solitaire and Management on DD Follow-ups
9/14/2020   1.0 hour(s)   Monica Mariani    Multiple exchanges with Estee Lauder on customer data
9/14/2020   1.0 hour(s)   Monica Mariani    NY Life Real Estate call and email exchange
9/14/2020   2.0 hour(s)   Gaurav Gaitonde   Calls with Le Tote and L&T Management and Saadia
9/14/2020   1.0 hour(s)   Peter Lindae      Call with Solitaire on DD Follow-ups - Infrastructure/Technical call
9/14/2020   1.0 hour(s)   Peter Lindae      Call with Solitaire and Management on DD Follow-ups
9/15/2020   0.5 hour(s)   Gary Moon         Meeting Prep
9/15/2020   0.5 hour(s)   Gary Moon         Call L&T/ Saadia
9/15/2020   0.5 hour(s)   Gary Moon         Call Le Tote/WF/Carlyle Weekly
9/15/2020   1.0 hour(s)   Gary Moon         Messaging DSW, Ebay, Recircled
9/15/2020   0.5 hour(s)   Gary Moon         Internal sync call
9/15/2020   1.0 hour(s)   Monica Mariani    Call with Solitaire and Management on DD Follow-ups
9/15/2020   0.5 hour(s)   Monica Mariani    Internal sync call
9/15/2020   1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote and L&T Management and Saadia
9/15/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
9/15/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
9/15/2020   1.0 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
9/15/2020   2.5 hour(s)   Peter Lindae      Process Tracking and BOD Update Preparation
9/15/2020   0.5 hour(s)   Peter Lindae      Internal sync call
9/16/2020   1.0 hour(s)   Gary Moon         Call with G-III and Management
9/16/2020   1.5 hour(s)   Gary Moon         Messaging Kirkland, Saadia, David Peress
9/16/2020   0.5 hour(s)   Gary Moon         Call Le Tote | BDO Weekly
9/16/2020   1.0 hour(s)   Monica Mariani    Call with G-III and Management
9/16/2020   0.5 hour(s)   Monica Mariani    Internal sync call
9/16/2020   1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote management and GIII
9/16/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
9/16/2020   1.5 hour(s)   Gaurav Gaitonde   Calls with and diligence work for Saadia
9/16/2020   1.0 hour(s)   Peter Lindae      Call with G-III and Management
9/16/2020   0.5 hour(s)   Peter Lindae      Internal sync call
9/16/2020   1.5 hour(s)   Peter Lindae      Internal Update Materials Preparation
9/17/2020   1.0 hour(s)   Gary Moon         Meeting Prep
9/17/2020   0.5 hour(s)   Gary Moon         Internal sync call in prep for BOD package
9/17/2020   1.0 hour(s)   Gary Moon         Call with Mason and Management
9/17/2020   0.5 hour(s)   Gary Moon         Internal sync call
9/17/2020   1.0 hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
9/17/2020   1.0 hour(s)   Gary Moon         Messaging Solitaire, BDO
9/17/2020   1.0 hour(s)   Monica Mariani    Call with Mason and Management
9/17/2020   0.5 hour(s)   Monica Mariani    Internal sync call in prep for BOD package
9/17/2020   0.5 hour(s)   Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
9/17/2020   1.0 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
9/17/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
9/17/2020   1.0 hour(s)   Gaurav Gaitonde   Calls with L&T Management and Mason
9/17/2020   1.0 hour(s)   Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
9/17/2020   1.0 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
9/17/2020   0.5 hour(s)   Peter Lindae      Call with Dan on Diligence Matters
9/17/2020   0.5 hour(s)   Peter Lindae      Internal call to Discuss General Transaction Matters
9/17/2020   1.0 hour(s)   Peter Lindae      Diligence Material Preparation
9/17/2020   0.5 hour(s)   Peter Lindae      Internal sync call in prep for BOD package
9/17/2020   2.0 hour(s)   Peter Lindae      Process Tracking and BOD Update Preparation
9/18/2020   1.0 hour(s)   Gary Moon         Messaging Kirkland, Saadia
9/18/2020   0.5 hour(s)   Peter Lindae      Updates for Stretto Notice
9/21/2020   1.0 hour(s)   Gary Moon         Internal Sync on Saadia questions
9/21/2020   1.0 hour(s)   Gary Moon         Messaging Think BRG, David Peress
9/21/2020   1.0 hour(s)   Monica Mariani    Internal Sync on Saadia questions
9/21/2020   1.0 hour(s)   Gaurav Gaitonde   Call with L&T management on Saadia DD
9/21/2020   1.0 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
9/21/2020   1.0 hour(s)   Peter Lindae      Internal Sync on Saadia Follow-ups
9/22/2020   1.0 hour(s)   Monica Mariani    Go Global Brand intro and multiple exhanges on dataroom and NDA
9/22/2020   1.0 hour(s)   Monica Mariani    Boston Properties intro call and exchanges
9/22/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
9/22/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
9/22/2020   1.5 hour(s)   Gaurav Gaitonde   Diligence work for Saadia and Solitaire
9/22/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
9/22/2020   0.5 hour(s)   Peter Lindae      Updates for Stretto Notice
9/23/2020   0.5 hour(s)   Gary Moon         Messages to Kirkland
9/23/2020   0.5 hour(s)   Gary Moon         Call Le Tote | BDO Weekly
9/23/2020   0.5 hour(s)   Monica Mariani    Prep Management for Zar Call
9/23/2020   1.0 hour(s)   Gaurav Gaitonde   Diligence work for Solitaire
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9/23/2020   1.0 hour(s)     Peter Lindae       Process Tracking and BOD Update Preparation
9/23/2020   0.5 hour(s)     Peter Lindae       Bid Side-by-side Review
9/23/2020   0.5 hour(s)     Peter Lindae       Updates for Stretto Notice
9/24/2020   1.0 hour(s)     Gary Moon          Meeting Prep
9/24/2020   1.5 hour(s)     Gary Moon          Messaging Solitaire, Taylor Stitch, Saadia
9/24/2020   1.0 hour(s)     Gary Moon          LeTote and Lord & Taylor Standing BOD Meeting
9/24/2020   0.5 hour(s)     Gary Moon          Internal sync call
9/24/2020   1.5 hour(s)     Monica Mariani     Putting together additional DD requests from Taylorstich
9/24/2020   1.5 hour(s)     Monica Mariani     Several calls (8+) with Zar through out the day
9/24/2020   1.0 hour(s)     Monica Mariani     Call with Zar Group and Management on DD
9/24/2020   1.0 hour(s)     Monica Mariani     BOD material preparation (chasing data, clarifying, process update, etc.)
9/24/2020   1.0 hour(s)     Monica Mariani     LeTote and Lord & Taylor Standing BOD Meeting
9/24/2020   0.5 hour(s)     Monica Mariani     Call with Grand Metropolitan
9/24/2020   0.5 hour(s)     Monica Mariani     Grand Metropolitan DD requests
9/24/2020   0.5 hour(s)     Monica Mariani     Internal sync call
9/24/2020   0.5 hour(s)     Monica Mariani     Intro Call with Metropolitan
9/24/2020   0.5 hour(s)     Gaurav Gaitonde    Internal Nfluence sync on deal
9/24/2020   1.0 hour(s)     Gaurav Gaitonde    LeTote and Lord & Taylor Standing BOD Meeting
9/24/2020   0.5 hour(s)     Gaurav Gaitonde    Nfluence call with Taylor Stitch
9/24/2020   0.5 hour(s)     Peter Lindae       Internal Sync Call
9/24/2020   2.0 hour(s)     Peter Lindae       Taylor Stitch Diligence Requests Preparation
9/24/2020   2.0 hour(s)     Peter Lindae       Process Tracking and BOD Update Preparation
9/24/2020   0.5 hour(s)     Peter Lindae       Internal Sync Call
9/24/2020   1.0 hour(s)     Peter Lindae       Diligence Material Requests Preparation
9/24/2020   0.5 hour(s)     Peter Lindae       Internal Sync Call re: DD Requests
9/25/2020   0.5 hour(s)     Gary Moon          Material Review
9/25/2020   0.5 hour(s)     Gary Moon          Call All Hands Le Tote
9/25/2020   0.5 hour(s)     Gary Moon          Call Legacy Internal Sync
9/25/2020   1.0 hour(s)     Gary Moon          Call Legacy | All Hands
9/25/2020   0.5 hour(s)     Gary Moon          Call Taylor Stitch | NP
9/25/2020   2.0 hour(s)     Monica Mariani     Real Estate Target
9/25/2020   0.5 hour(s)     Monica Mariani     Call with TaylorStich
9/25/2020   2.0 hour(s)     Monica Mariani     TaylorStich follow-ups
9/25/2020   4.0 hour(s)     Monica Mariani     Multiple Calls with Management and DD preparation (Mark Nechita on FTEs)
9/25/2020   2.0 hour(s)     Gaurav Gaitonde    Le Tote financial model updates
9/25/2020   0.5 hour(s)     Gaurav Gaitonde    Diligence work for Solitaire
9/25/2020   1.0 hour(s)     Peter Lindae       Diligence Material Preparation
9/25/2020   1.0 hour(s)     Peter Lindae       TaylorStich follow-ups
9/25/2020   4.0 hour(s)     Peter Lindae       Multiple Calls with Management and DD preparation (Mark Nechita on FTEs)
9/27/2020   4.0 hour(s)     Monica Mariani     Employee compensation DD request (gathering employment agreements, reading over agreements
                                               to determine comp package, severance, sign in bonus, etc.)
9/27/2020   4.0 hour(s)     Peter Lindae       Employee compensation DD request (gathering employment agreements, reading over agreements
                                               to determine comp package, severance, sign in bonus, etc.)
9/28/2020   1.5   hour(s)   Gary Moon          Messaging Kirkland, David Peress
9/28/2020   1.0   hour(s)   Monica Mariani     Multiple exchanges on New York Life Real Estate on NDA
9/28/2020   1.0   hour(s)   Monica Mariani     Call with TaylorStich and Management
9/28/2020   2.0   hour(s)   Peter Lindae       Bid Comparisons and Process Tracking
9/28/2020   1.0   hour(s)   Peter Lindae       Follow-up with Michael van den Berg
9/28/2020   3.0   hour(s)   Peter Lindae       Follow-up Mark Nechita on Diligence Requests
9/29/2020   1.0   hour(s)   Gary Moon          Meeting Prep
9/29/2020   0.5   hour(s)   Gary Moon          Internal sync call
9/29/2020   1.0   hour(s)   Gary Moon          Le Tote Board Meeting
9/29/2020   0.8   hour(s)   Gary Moon          Messaging David Peress
9/29/2020   0.5   hour(s)   Monica Mariani     Internal sync call
9/29/2020   0.5   hour(s)   Monica Mariani     Prep Management for Zar Call
9/29/2020   0.5   hour(s)   Gaurav Gaitonde    Le Tote/WF/Carlyle - Weekly
9/29/2020   1.0   hour(s)   Gaurav Gaitonde    Le Tote Board Meeting
9/29/2020   2.0   hour(s)   Peter Lindae       Process Tracking and BOD Update Preparation
9/29/2020   0.5   hour(s)   Peter Lindae       Internal Sync Call
9/29/2020   0.5   hour(s)   Peter Lindae       Call with Michael van den Berg on DD requests
9/30/2020   0.5   hour(s)   Gary Moon          Material Review
9/30/2020   1.0   hour(s)   Gary Moon          Call Hilco Global | NP
9/30/2020   0.5   hour(s)   Gary Moon          Call with Solitaire and Management on DD Follow-ups
9/30/2020   0.5   hour(s)   Gary Moon          Call REV
9/30/2020   0.5   hour(s)   Gary Moon          Call Lord & Taylor
9/30/2020   0.5   hour(s)   Gary Moon          Call Le Tote | BDO Weekly
9/30/2020   1.0   hour(s)   Gary Moon          Messaging Recircled, David Peress
9/30/2020   0.5   hour(s)   Monica Mariani     Call with Zar Group and Management on DD
9/30/2020   0.5   hour(s)   Monica Mariani     Call with Solitaire and Management on DD Follow-ups
9/30/2020   1.5   hour(s)   Monica Mariani     Several calls (5+) with Zar through out the day
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  DATE         HOURS                        DESRCIPTION
9/30/2020   0.5 hour(s)   Gaurav Gaitonde   Call with L&T Management and Solitaire
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                                                  Summary of Hours Worked - Total
   DATE     HOURS                           DESRCIPTION
10/1/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/1/2020   0.5 hour(s)   Gary Moon         Internal sync call
10/1/2020   0.5 hour(s)   Gary Moon         Legacy Internal Sync
10/1/2020   1.0 hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   0.5 hour(s)   Gary Moon         Call Solitaire Partners
10/1/2020   1.5 hour(s)   Gary Moon         Messages to Solitarie Partners, Hilco Global, Kirkland, client, Vin Lee
10/1/2020   1.0 hour(s)   Gary Moon         Call David Peress
10/1/2020   0.5 hour(s)   Monica Mariani    Internal sync call
10/1/2020   1.0 hour(s)   Monica Mariani    Call with Solitaire and Management on DD Follow-ups
10/1/2020   1.0 hour(s)   Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/1/2020   1.0 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/1/2020   0.5 hour(s)   Monica Mariani    Prep Management for Zar Call and follow-ups
10/1/2020   1.5 hour(s)   Monica Mariani    Zar follow-ups
10/1/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   Nfluence and Le Tote financial model discussion
10/1/2020   2.0 hour(s)   Gaurav Gaitonde   Le Tote financial model updates
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
10/1/2020   1.0 hour(s)   Gaurav Gaitonde   Calls and diligence work with Solitaire
10/1/2020   2.0 hour(s)   Peter Lindae      Bid Tracking and Process Update Preparation
10/1/2020   0.5 hour(s)   Peter Lindae      Legacy Process Internal Sync
10/1/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
10/1/2020   1.0 hour(s)   Peter Lindae      Preparation of DD responses to Grand Metropolitan
10/1/2020   0.5 hour(s)   Peter Lindae      Preparation of DD responses to Zar Group
10/2/2020   0.5 hour(s)   Gary Moon         Call with Zar Group and Management on DD
10/2/2020   1.5 hour(s)   Gary Moon         Messages to Client, Kirkland, Zar Group, Vin Lee
10/2/2020   0.5 hour(s)   Monica Mariani    Call with Zar Group and Management on DD
10/2/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/2/2020   1.0 hour(s)   Peter Lindae      Diligence Request Material Preparation
10/2/2020   2.0 hour(s)   Peter Lindae      Process Tracking Management
10/5/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/5/2020   1.5 hour(s)   Gary Moon         Messages to Kirkland, BDO, Taylor Stitch, client
10/5/2020   0.5 hour(s)   Gary Moon         Call with Zar Group General Transaction Matters
10/5/2020   0.5 hour(s)   Gary Moon         Call with TaylorStich General Transaction Matters
10/5/2020   1.0 hour(s)   Gary Moon         Messages to Zar Group, Kirkland,
10/5/2020   0.5 hour(s)   Monica Mariani    Call with Zar Group General Transaction Matters
10/5/2020   0.5 hour(s)   Monica Mariani    Call with TaylorStich General Transaction Matters
10/5/2020   2.0 hour(s)   Monica Mariani    Several Calls with Zar
10/5/2020   1.0 hour(s)   Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/5/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Mason
10/5/2020   1.5 hour(s)   Peter Lindae      Bid / Process Tracking Update
10/6/2020   0.8 hour(s)   Gary Moon         Meeting Prep
10/6/2020   1.0 hour(s)   Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/6/2020   0.5 hour(s)   Gary Moon         Internal sync call
10/6/2020   1.5 hour(s)   Gary Moon         Messages to Zar Group, Kirkland, Harry and Rajeev, Solitaire, Taylor Stitch
10/6/2020   1.0 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/6/2020   0.5 hour(s)   Monica Mariani    Internal sync call
10/6/2020   1.0 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/6/2020   2.0 hour(s)   Gaurav Gaitonde   Call and diligence work for Solitaire
10/6/2020   0.5 hour(s)   Gaurav Gaitonde   Diligence work for Mason
10/6/2020   0.5 hour(s)   Peter Lindae      Internal Sync Call
10/6/2020   1.5 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/7/2020   1.0 hour(s)   Gary Moon         Material Review
10/7/2020   0.5 hour(s)   Gary Moon         Call with TaylorStich and Management DD Follow-ups
10/7/2020   0.5 hour(s)   Gary Moon         Call with Solitarie Partners
10/7/2020   0.5 hour(s)   Gary Moon         Call Le Tote | BDO Weekly
10/7/2020   1.5 hour(s)   Gary Moon         Messages to Hilco Global, Vin Lee, Solitaire, Taylor Stitch, client. Kirkland
10/7/2020   0.5 hour(s)   Monica Mariani    Call with TaylorStich and Management DD Follow-ups
10/7/2020   2.0 hour(s)   Monica Mariani    TaylorStich follow-ups
10/7/2020   1.0 hour(s)   Monica Mariani    Several Calls with Zar
10/7/2020   1.0 hour(s)   Monica Mariani    Call to Prep Management on Call and put together DD materials
10/7/2020   0.5 hour(s)   Gaurav Gaitonde   Call with Solitaire
10/7/2020   0.5 hour(s)   Gaurav Gaitonde   Messaging with Taylor Stitch, Solitaire
10/7/2020   2.0 hour(s)   Peter Lindae      Saadia / Solitaire Side-by-Side Review Preparation
10/8/2020   1.0 hour(s)   Gary Moon         Meeting Prep
10/8/2020   0.5 hour(s)   Gary Moon         Call with Hilco Global
10/8/2020   0.5 hour(s)   Gary Moon         Internal sync call
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   DATE      HOURS                             DESRCIPTION
10/8/2020    1.0 hour(s)     Gary Moon         LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    1.5 hour(s)     Gary Moon         Messages to Kirkland, Client, Harry & Rajeev, Solitaire, Saadia
10/8/2020    0.5 hour(s)     Monica Mariani    Call with Zar Group and Management on DD
10/8/2020    0.5 hour(s)     Monica Mariani    Internal sync call
10/8/2020    1.0 hour(s)     Monica Mariani    BOD material preparation (chasing data, clarifying, process update, etc.)
10/8/2020    1.0 hour(s)     Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    0.5 hour(s)     Gaurav Gaitonde   Internal Nfluence sync on deal
10/8/2020    1.0 hour(s)     Gaurav Gaitonde   Bid procedures summary for AK Growth and others
10/8/2020    1.0 hour(s)     Gaurav Gaitonde   LeTote and Lord & Taylor Standing BOD Meeting
10/8/2020    0.5 hour(s)     Gaurav Gaitonde   Diligence work for Hilco
10/8/2020    1.5 hour(s)     Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/8/2020    0.5 hour(s)     Peter Lindae      Intenal Sync Call
10/8/2020    0.5 hour(s)     Peter Lindae      Auction Attendee List Preparation
10/9/2020    0.5 hour(s)     Gary Moon         Call with Lawyers and Management on Auction Procedures
10/9/2020    1.5 hour(s)     Gary Moon         Messages to Kirkland, Solitaire, Rajeev and Harry, Vin Lee, Client
10/9/2020    0.5 hour(s)     Gary Moon         Call with LT
10/9/2020    0.5 hour(s)     Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Internal call on Auction Procedures
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Messaging with AK Growth, Icarus, Q Partners
10/9/2020    0.5 hour(s)     Gaurav Gaitonde   Dilgence work for Solitaire
10/9/2020    1.0 hour(s)     Peter Lindae      Diligence Requests for Grand Metropolitan
10/9/2020    2.0 hour(s)     Peter Lindae      Prospective Bidder Tracking and Comparison Preparataion
10/10/2020   1.5 hour(s)     Gary Moon         Messages to Solitaire, Hilco Global, Kirkland, Client, Vin Lee, Rajeev and Harry
10/10/2020   0.5 hour(s)     Monica Mariani    Call with Branded on DD walk-through
10/10/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Branded Online
10/10/2020   1.5 hour(s)     Peter Lindae      Bidder Comparison Tracking and Process Updates
10/10/2020   0.5 hour(s)     Peter Lindae      Internal call to Discuss General Transaction Matters
10/10/2020   2.0 hour(s)     Peter Lindae      SPAC Market Intelligence Requests
10/11/2020   0.5 hour(s)     Gary Moon         Messages to Bob Duffy
10/11/2020   1.0 hour(s)     Monica Mariani    Call with Branded on DD
10/11/2020   3.0 hour(s)     Monica Mariani    Gathering additional DD materials for Branded
10/11/2020   0.5 hour(s)     Monica Mariani    Call with various members of Management to get materials on Branded DD follow-ups
10/11/2020   0.5 hour(s)     Monica Mariani    Intro Call with Blumberg
10/11/2020   1.0 hour(s)     Monica Mariani    Blumberg/Icarus follow-ups
10/11/2020   0.5 hour(s)     Gaurav Gaitonde   Call with Icarus Capital
10/11/2020   0.5 hour(s)     Gaurav Gaitonde   Diligence work for Taylor Stitch
10/11/2020   1.0 hour(s)     Peter Lindae      Blumberg/Icarus follow-ups
10/11/2020   1.5 hour(s)     Peter Lindae      Bidder Comparison Tracking and Process Updates
10/11/2020   0.5 hour(s)     Peter Lindae      Updates for Stretto Notice
10/12/2020   1.0 hour(s)     Gary Moon         Meeting Prep
10/12/2020   1.0 hour(s)     Gary Moon         Call Le Tote - Prospective Bidders- and Auction
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Auction Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Saadia Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Solitaire Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on TaylorStich Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Branded Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Icarus Procedures
10/12/2020   0.5 hour(s)     Gary Moon         Call with AK Growth on Hilco Procedures
10/12/2020   1.5 hour(s)     Gary Moon         Messages to Solitaire, Hilco Global, Kirkland, Client, Vin Lee, Rajeev and Harry, Branded Online,
                                               saadia
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with AK Growth on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Saadia on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Solitaire on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with TaylorStich on Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Gather additional DD for TaylorStich
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Branded Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Icarus Auction Procedures
10/12/2020   0.5   hour(s)   Monica Mariani    Call with Hilco Auction Procedures
10/12/2020   1.0   hour(s)   Monica Mariani    Multiple exchanges/interactions scheduling all the above calls
10/12/2020   1.0   hour(s)   Monica Mariani    Several Calls with Zar
10/12/2020   1.0   hour(s)   Gaurav Gaitonde   Internal call to discuss auction
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with AK Growth
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Solitaire
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Taylor Stitch
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Branded Online
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Icarus Capital
10/12/2020   0.5   hour(s)   Gaurav Gaitonde   Call with Hilco Global
10/12/2020   1.0   hour(s)   Peter Lindae      Diligence Request Material Preparation
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                                                    Summary of Hours Worked - Total
   DATE      HOURS                            DESRCIPTION
10/12/2020    1.0 hour(s)   Peter Lindae      Call with Lawyers and Management on Auction Procedures
10/12/2020    1.5 hour(s)   Peter Lindae      Internal Auction Preparation
10/12/2020    1.5 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/13/2020    1.0 hour(s)   Gary Moon         Material Review
10/13/2020    0.5 hour(s)   Gary Moon         Le Tote Deposits
10/13/2020    0.5 hour(s)   Gary Moon         Internal sync call
10/13/2020    0.5 hour(s)   Gary Moon         Call Le Tote | Solitaire
10/13/2020    1.5 hour(s)   Gary Moon         Messages to Kirkland, Bob Duffy, Hilco global, Harry & Rajeev
10/13/2020    0.5 hour(s)   Monica Mariani    Call with Zar on General Transaction Matters
10/13/2020    0.5 hour(s)   Monica Mariani    Internal sync call
10/13/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote/WF/Carlyle - Weekly
10/13/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/13/2020    2.0 hour(s)   Peter Lindae      Bid / Process Tracking and Bid Update Preparation
10/13/2020    0.5 hour(s)   Peter Lindae      Auction Attendee List Preparation
10/14/2020    1.0 hour(s)   Gary Moon         Material Review
10/14/2020    0.5 hour(s)   Gary Moon         Call L&T/Icarus
10/14/2020    0.5 hour(s)   Gary Moon         Call Le Tote Deposits
10/14/2020    0.5 hour(s)   Gary Moon         Call Le Tote
10/14/2020    0.5 hour(s)   Gary Moon         Call LT Nfluence Retention
10/14/2020    1.5 hour(s)   Gary Moon         Messages to Client, Hilco Global, Kirkland, BDO, Solitaire
10/14/2020    0.5 hour(s)   Monica Mariani    Call with Lawyers and Management on Auction Procedures
10/14/2020    0.5 hour(s)   Gaurav Gaitonde   Internal call on deposits
10/14/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Icarus Capital
10/14/2020    3.0 hour(s)   Peter Lindae      Bid Comparisons and Process Tracking Update
10/15/2020   14.0 hour(s)   Gary Moon         Auction
10/15/2020   14.0 hour(s)   Monica Mariani    Auction
10/15/2020   14.0 hour(s)   Gaurav Gaitonde   Auction
10/15/2020    1.5 hour(s)   Peter Lindae      Internal Auction Materials Preparation
10/16/2020    1.0 hour(s)   Gary Moon         Meeting Prep
10/16/2020    0.5 hour(s)   Gary Moon         Le Tote Board Meeting
10/16/2020    0.5 hour(s)   Gary Moon         Messages to Solitaire
10/16/2020    0.5 hour(s)   Monica Mariani    LeTote and Lord & Taylor Standing BOD Meeting
10/16/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/16/2020    0.5 hour(s)   Peter Lindae      Post-Auction Review
10/19/2020    1.0 hour(s)   Gary Moon         Messages to Kirkland, Vin Lee
10/19/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Mason
10/19/2020    1.0 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/19/2020    1.0 hour(s)   Peter Lindae      Process Milestone to KE
10/20/2020    1.0 hour(s)   Gary Moon         Material Review
10/20/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/20/2020    0.5 hour(s)   Gary Moon         Messages to Kirkland
10/20/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/20/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/20/2020    0.5 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/20/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/21/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/21/2020    1.0 hour(s)   Gary Moon         Meeting Prep
10/21/2020    1.0 hour(s)   Gary Moon         Le Tote Board Call
10/21/2020    0.5 hour(s)   Gary Moon         Messages to BDO
10/21/2020    0.5 hour(s)   Gary Moon         Call with Ed
10/21/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/21/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/21/2020    0.5 hour(s)   Gaurav Gaitonde   Le Tote Board Meeting
10/21/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/22/2020    0.5 hour(s)   Monica Mariani    Internal sync call
10/22/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
10/23/2020    0.5 hour(s)   Monica Mariani    Call with Ed
10/26/2020    0.5 hour(s)   Gary Moon         Call Le Tote
10/26/2020    0.5 hour(s)   Gary Moon         Messages to Saadia
10/26/2020    0.5 hour(s)   Gaurav Gaitonde   Call with Le Tote Management
10/27/2020    1.0 hour(s)   Gary Moon         Material Review
10/27/2020    0.5 hour(s)   Gary Moon         Le Tote/WF/Carlyle - Weekly
10/27/2020    2.0 hour(s)   Gary Moon         Creating Timesheet for September/October
10/27/2020    0.5 hour(s)   Gary Moon         Messages to Zar
10/27/2020    0.5 hour(s)   Gary Moon         Call Internal Sync
10/27/2020    0.5 hour(s)   Monica Mariani    Call Internal Sync
10/27/2020    0.5 hour(s)   Gaurav Gaitonde   Internal Nfluence sync on deal
10/27/2020    1.0 hour(s)   Gaurav Gaitonde   Call with Le Tote Management and Saadia
10/27/2020    0.5 hour(s)   Peter Lindae      Interal Sync Call
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                                                   Summary of Hours Worked - Total
   DATE      HOURS                           DESRCIPTION
10/29/2020   1.0 hour(s)   Gary Moon         Material Review
10/29/2020   0.5 hour(s)   Gary Moon         Messages to Kirkland
10/29/2020   1.5 hour(s)   Gary Moon         Editing timesheet with phone calls
10/29/2020   0.5 hour(s)   Gary Moon         Call Internal Sync
10/29/2020   0.5 hour(s)   Gaurav Gaitonde   Diligence work for Saadia
10/30/2020   0.5 hour(s)   Gary Moon         Messages to Client
